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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEIZURE OF
 ALL PETROLEUM-PRODUCT CARGO
                                                     CASE NO. 22-sz-11
 ONBOARD THE M/T PEGAS WITH
 INTERNATIONAL MARITIME
                                                     FILED UNDER SEAL
 ORGANIZATION NUMBER 9256860

                   AFFIDAVIT IN SUPPORT OF SEIZURE WARRANT

       I, Cindy Burnham, a Special Agent with Federal Bureau of Investigation (“FBI”), being

duly sworn, depose and state as follows:

       1.      I am a “federal law enforcement officer” within the meaning of Federal Rule of

Criminal Procedure 41(a)(2)(c), that is, a government agent engaged in enforcing the criminal laws

and duly authorized by the Attorney General to request a seizure warrant. I have been a Special

Agent with the FBI since April 2006. Since that time, I have been involved in national security

investigations. Specifically, I have been involved in investigations involving counterintelligence,

export violations, and counterproliferation. During my work with the FBI, I have executed, or

participated in the execution of search warrants and have seized evidence of criminal violations. I

have conducted and participated in other investigations related to violations of U.S. export laws

and regulations, and sanctions violations. I have been involved in investigations involving the

illegal export of controlled items, as well as investigations involving the illegal use of the U.S.

financial system to facilitate petroleum sales for the benefit of the Government of Iran.

       2.      Based upon my training and experience, I am familiar with the methods of

operation employed by subjects in national security investigations to obfuscate their involvement

in transactions for the purpose of circumventing sanctions imposed by the United States and the

United Nations (“UN”).




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        3.      I have been one of the case agents in this investigation, which is worked jointly

with Homeland Security Investigations. The information obtained over the course of the

investigation has revealed designated entities are violating U.S. laws and regulations by laundering

U.S. dollar payments by sending wire transfers through correspondent accounts at U.S. financial

institutions to facilitate purchases and related transactions for the Islamic Revolutionary Guard

Corps (“IRGC”) and the Qods Force of the Islamic Revolutionary Guard Corps (“IRGC-QF”), a

designated terrorist organization. During my work on this investigation, I have reviewed reports

prepared by agents and discussed this case and other related cases with agents, law enforcement

officers, and partners at other U.S. Government agencies who have been involved in these

investigations. I submit this affidavit based upon personal knowledge derived from my

participation in this investigation, and information that I have received from a variety of other

sources, including law enforcement officers and agents, witness interviews, public records, bank

records, and documents discussed herein.

I.      PURPOSE OF AFFIDAVIT

        4.      This affidavit is made in support of a seizure warrant for all petroleum product (the

“Target Cargo”) onboard the M/T PEGAS (International Maritime Organization (“IMO”) No.

9256860) (the “PEGAS”), which is estimated to be approximately 778,436 barrels of crude oil.

        5.      As further described herein, the Target Cargo was obtained from sanctioned Iranian

entities, as follows:

             a. On or about September 24, 2020, the M/T Rima (IMO No. 9150377) received her

                cargo from the M/T Stream (IMO No. 9569633), a vessel owned by the National

                Iranian Tanker Company (NITC), U.S. Department of the Treasury-designated




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               entity. The transfer occurred at the Kharg Island, Iran anchorage. 1 There is probable

               cause to believe that the Kharg Island terminal used by the Rima and Stream is

               owned and operated by the National Iranian Oil Company (“NIOC”), a U.S.

               Department of the Treasury-designated entity, as is the petroleum product obtained

               therefrom.

            b. Further, there is probable cause to believe that the Rima is operated by IRGC-QF.

               The Rima was formerly known as the Nautic and Gulf Sky. Based on information

               gathered in a prior unrelated investigation, IRGC-QF associate Amir Dianat

               (“Dianat”) owns Taif Mining Services LLC (“Taif Mining”), which in turn owns

               the Rima. Both Dianat and Taif Mining have been designated by the Department

               of the Treasury. Based on my training and experience I believe that a standard due

               diligence check on the Rima would have alerted the owners of the PEGAS its links

               to Dianat and the IRGC-QF.

            c. On or about August 17, 2021, the Rima engaged in a ship to ship transfer of crude

               oil with the PEGAS in Iranian territorial water. The PEGAS remains laden with the

               same crude oil.

       6.      The Target Cargo is a source of influence over NIOC, Dianat, Taif Mining, IRGC,

and IRGC-QF within the meaning of 18 U.S.C. § 981(a)(1)(G)(i). In transferring the Target Cargo

for the purposes of sale, NIOC provided or attempted to provide resources to IRGC and IRGC-




1
 As referred to herein, the anchorage is the area outside a port where vessels are permitted by the
port to anchor.


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QF, in violation of 18 U.S.C. § 2339B(a)(1). Any conveyance of the Target Cargo is also an

attempt to provide resources to IRGC-QF, in violation of 18 U.S.C. § 2339B(a)(1).

           7.    The Target Cargo is subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(G)(i).

           8.    There is probable cause to believe that the Target Cargo is subject to seizure and

forfeiture as assets of, or assets that afford a source of influence over, a foreign terrorist

organization.

II.        STATUTORY BACKGROUND

           A.    IRGC and the IRGC-QF

           9.    On October 25, 2007, the Department of the Treasury designated the IRGC-QF

pursuant to Executive Order (E.O.) No. 13224 for providing lethal support to multiple terrorist

organizations. That same day, the Department of the Treasury also designated the IRGC pursuant

to E.O. No. 13382 for its support of Iran’s ballistic missile and nuclear programs.

           10.   On March 14, 2016, the Department of the Treasury designated the National Iranian

Oil Company (“NIOC”) pursuant to E.O. No. 13599, which targets the property of the Government

of Iran.

           11.   On October 13, 2017, the Department of the Treasury designated the IRGC

pursuant to E.O. No. 13224 for providing material support to the IRGC-QF, including by providing

training, personnel, and military equipment.

           12.   On November 5, 2018, the Department of the Treasury designated NIOC’s

subsidiary, NITC, pursuant to E.O. No. 13599 for its connections to the Government of Iran and

its role in the Iranian shipping sector. A previous Department of the Treasury press release noted

that NIOC was owned by the Government of Iran through the Ministry of Petroleum, and was

responsible for the exploration, production, refining, and export of oil and petroleum products in




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Iran. It further noted the close relationship between the IRGC and NIOC. Similarly, a previous

Department of the Treasury press release noted that NITC was a Government of Iran entity, which

employed various front companies.

        13.     On April 8, 2019, the State Department designated the IRGC as a Foreign Terrorist

Organization pursuant to E.O. No. 13224. The designation noted that the IRGC actively finances

and promotes terrorism, and noted that “the IRGC—most prominently through its Qods Force—has

the greatest role among Iran’s actors in directing and carrying out a global terrorist campaign.”

        14.     On January 23, 2020, the Department of the Treasury described NIOC as “an entity

instrumental in Iran’s petroleum and petrochemical industries, which helps to finance Iran’s

[IRGC-QF] and its terrorist proxies.”

        15.     On October 26, 2020, the Department of the Treasury’s Office of Foreign Assets

Control (“OFAC”), which is located in the District of Columbia, designated NITC and NIOC

pursuant to counter-terrorism sanctions for their financial support to Iran’s IRGC-QF.

        16.     According to the Department of the Treasury’s statements related to IRGC

designations, the IRGC and its major holdings are a dominant presence in Iran’s commercial and

financial sectors, controlling multi-billion dollar businesses and maintaining extensive economic

interests in the oil industry.

        B.      IEEPA and Russia Sanctions

        17.     Pursuant to his authority under IEEPA and the National Emergencies Act (50

U.S.C. §§ 1601 et seq.) (“NEA”), on March 6, 2014, the President issued E.O. (“E.O.”) 13660,

declaring a national emergency to deal with the threat posed by the actions and policies of certain

persons who had: undermined democratic processes and institutions in Ukraine; threatened the

peace, security, stability, sovereignty, and territorial integrity of Ukraine; and contributed to the




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misappropriation of Ukraine’s assets. In further response to the actions and polices of the

Government of the Russian Federation, including the purported annexation of the Crimea region

of Ukraine, the President issued three subsequent E.O.s that expanded the scope of the national

emergency declared in E.O. 13660 (E.O. 13661 (Mar. 6, 2015); E.O. 13662 (Mar. 16, 2014); E.O.

13685 (Dec. 19, 2014) (collectively, “the Russia Sanctions”). Together, these orders authorize,

among other things, the imposition of sanctions against persons responsible for or complicit in

certain activities with respect to Ukraine, against officials of the Government of the Russian

Federation, against persons operating in the arms or related materiel sector of the Russian

Federation, and against individuals and entities operating in the Crimea region of Ukraine. On May

8, 2014, OFAC issued a set of regulations to implement the Russia Sanctions (79 Fed. Reg. 26365,

May 8, 2014). See 31 C.F.R. part 589, Ukraine-Related Sanctions Regulations (the “Regulations”)

for details.

        18.    The Russia sanctions also block the property and interests in property of individuals

and entities listed in the Annex to E.O. 13661 or of those determined by the U.S. Secretary of the

Treasury, after consultation with the Secretary of State, to meet the criteria in E.O. 13660, E.O.

13661, E.O. 13662, or E.O. 13685.

        19.    Blocking sanctions against individuals and entities designated pursuant to the

Russia sanctions result in the individuals and entities being listed on the Treasury Department’s

List of Specially Designated Nationals and Blocked Persons (“SDN List”). Unless otherwise

authorized or exempt, transactions by U.S. persons (including U.S. financial institutions) or in the

United States are prohibited if they involve transferring, paying, exporting, withdrawing, or

otherwise dealing in the “property” or “interests in property” of an entity or individual listed on

the SDN List because of the Russia sanctions.




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       20.     On February 22, 2022, in response to the Russian Federation’s 2022 invasion of

Ukraine, OFAC sanctioned Promsvyazbank Public Joint Stock Company (“PSB”) and its

subsidiaries for assisting in “Russia’s ability to finance aggression against its neighbors.” As

explained in the press release regarding the designation, PSB has been “deemed by the

[Government of Russia (“GoR”)] as a systemically important Russian state-owned financial

institution and is Russia’s eighth largest financial institution. The GoR nationalized PSB in 2018

and repurposed it to finance the defense industry and service large defense contracts as part of a

scheme to assist the government in avoiding new sanctions. Since its transformation into the

Russian state defense bank, PSB has issued billions of dollars in financial support for Russian

defense sector companies, and it currently services nearly 70 percent of state contracts signed by

the Russian Ministry of Defense (MoD). In addition to supporting the MoD and Russian defense

enterprises, PSB provides its banking products, including mortgages, to Russian military

personnel. In an effort to insulate itself from U.S. sanctions, the GoR has also tasked PSB with

providing credit to entities under U.S. and partner nations’ sanctions so that other lenders, namely

Sberbank and VTB Bank, can offload the risk of conducting business with sanctioned entities.

PSB is reported to be creating a separate currency exchange to service companies targeted by

Western sanctions.” See https://home.treasury.gov/news/press-releases/jy0602.

       21.     As part of the designation of PSB, OFAC designated PSB subsidiary, PSB Lizing

OOO, and identified five vessels were identified pursuant to E.O. 14024 “as blocked property in

which PSB Lizing OOO has an interest,” to include the PEGAS (IMO No. 9256860), a Russian-

flagged crude oil tanker with a gross registered tonnage of 61991. See id.




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       C.       Forfeiture Statutes

       22.      This application seeks a seizure warrant under both civil and criminal authorities

because the Target Cargo could easily be placed beyond process if not seized by a warrant. The

Target Cargo is a liquid petroleum product which is easily transferred. The Target Cargo is

currently held onboard the PEGAS, currently located in Greek territorial waters.

       23.      Pursuant to 18 U.S.C. § 981(b), property subject to forfeiture under § 981 may be

seized via a civil seizure warrant issued by a judicial officer “in any district in which a forfeiture

action against the property may be filed,” if there is probable cause to believe the property is

subject to forfeiture. Section 982(b)(1) incorporates the procedures in 21 U.S.C. § 853 (other than

subsection (d)) for all stages of a criminal forfeiture proceeding. Section 853(f) permits the

government to request the issuance of a seizure warrant for property subject to criminal forfeiture.

Thus, seizure warrants may be obtained outside of the district where the property to be seized is

located.

       24.      Pursuant to 18 U.S.C. § 981(a)(1)(G)(i), all assets, foreign or domestic, of an

organization engaged in planning or perpetrating any federal crime of terrorism [as defined in 18

U.S.C. § 2332b(g)(5)] against the United States, citizens, or residents of the United States, or their

property, are subject to civil forfeiture, as are all assets, foreign or domestic, affording any person

a source of influence over any such entity or organization. Pursuant to 18 U.S.C. § 981(a)(1)(G)(i)

and 28 U.S.C. § 2461(c), the same quantum of property is subject to criminal forfeiture.

                a.      18 U.S.C. § 98l(a)(l)(G)(i) covers two categories of property relating to any

                individual, entity, or organization engaged in planning or perpetrating any federal

                crime of terrorism [as defined in section 2332b(g)(5)] against the United States,

                citizens or residents of the United States, or their property: (1) all assets, foreign or




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     domestic of such individual, entity, or organization; and (2) all assets, foreign and

     domestic, affording any person a source of influence over the terrorist entity or

     organization. “That is, the statute empowers the government to seek the forfeiture

     of property outside the United States, which may have never touched the United

     States. The broad expanse of this language is for forfeiture actions to reach all

     property of terrorist organizations.” United States v. One Gold Ring with Carved

     Gemstone, No. 16-CV-02442-TFH, 2019 WL 5853493, at *1 (D.D.C. Nov. 7,

     2019).

     b.       In a similar case involving petroleum products linked to the IRGC, this court

     found “that there is probable cause to believe that the Defendant Properties are

     foreign assets of the [IRGC], a designated foreign terrorist organization, which has

     engaged in planning and perpetrating federal crimes of terrorism as defined in 18

     U.S.C. § 2332b(g)(5) against the United States, citizens or residents of the United

     States, or their property, or are foreign assets affording the identified subjects a

     source of influence over the IRGC.” United States v. All Petroleum-Prod. Cargo

     Aboard the Bella with Int’l Mar. Org. No. 9208124, No. CV 20-1791, 2020 WL

     3771953, at *1 (D.D.C. July 2, 2020).

     c.       The terrorism forfeiture authorities apply to a larger class of property than

     traditional forfeiture authorities. Terrorism-based forfeitures cover the broadest

     categories of property, as it includes all property foreign and domestic of a terrorist

     organization, irrespective of whether the property has any nexus to the crime or the

     United States, and all property of a third party that promotes/facilitates the activity

     of the terrorist organization. See United States v. Oil Tanker Bearing International




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              Maritime Organization Number 9116512, 19-cv-1989, 2020 WL 4569424, *4-5

              (D.D.C. Aug. 7, 2020) (defining the broad scope of § 981(a)(1)(G)(i)); United

              States v. One Gold Ring with Carved Gemstone, No. 16-CV-02442-TFH, 2019 WL

              5853493, at *1 (D.D.C. Nov. 7, 2019) (“That is, the statute empowers the

              government to seek the forfeiture of property outside the United States, which may

              have never touched the United States. The broad expanse of this language is for

              forfeiture actions to reach all property of terrorist organizations.”).

              d.      “This court is the sole jurisdiction where such litigation is properly lodged.”

              One Gold Ring with Carved Gemstone, 2019 WL 5853493, at *1 (citing 28 U.S.C.

              § 1355(b)(2)). To the extent that the Target Cargo is seized upon the high seas, this

              Court additionally has jurisdiction pursuant to 14 U.S.C. § 522(a) and 28 U.S.C.

              § 2461(b). See United States v. All Petroleum-Product Cargo Aboard the Bella with

              Int'l Mar. Org. No. 9208124, No. 20-CV-1791, 2020 WL 3771953 (D.D.C. July 2,

              2020) (“[T]his Court has venue and jurisdiction over the Defendant Properties: (i)

              as they are located in a foreign country or have been detained by a foreign authority,

              pursuant to 28 U.S.C. § 1355(b)(2); and/or (ii) as they are on the high seas, pursuant

              to 14 U.S.C. § 522(a) and 28 U.S.C. § 2461(b).”).

III.   IRANIAN PETROLEUM IS AN ASSET OF NIOC AND IRGC-QF

       25.    On August 3, 2011, Iran’s parliament approved the appointment of Rostam Qasemi,

a Brigadier General in the IRGC, as Minister of Petroleum. Since this appointment, the Department

of the Treasury has noted the close connection between the IRGC and the Iranian petrochemical

sector on multiple occasions.

       26.    On September 24, 2012, the Department of the Treasury submitted a report to

Congress, as required by the Iran Threat Reduction and Syria Human Rights Act of 2012


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(“ITRSHRA”), informing Congress that the Department of the Treasury determined that NIOC

was an agent or affiliate of the IRGC.

       27.     In 2014, the Department of the Treasury further noted that the IRGC’s influence

had grown within NIOC.

       28.     Prior to his appointment, Qasemi was the commander of Khatam Al-Anbia

Construction Headquarters, a construction and development wing of the IRGC that generates

income and funds operations for the IRGC. During his role as Minister of Petroleum, Qasemi

publicly stated his allegiance to the IRGC and the IRGC became increasingly influential in Iran’s

energy sector. For example, Khatam Al-Anbia obtained billions of dollars’ worth of contracts with

Iranian energy companies, including NIOC, often without participating in a competitive bidding

process. See https://ir.usembassy.gov/our-relationship/official-reports/treasury-report-nioc-nitc/.

       29.     On June 7, 2019, OFAC sanctioned Persian Gulf Petrochemical Industries

Company (“PGPIC”) for providing financial support to Khatam al-Anbia. PGPIC is Iran’s largest

and most profitable petrochemical holding group. PGPIC and its group of subsidiary petrochemical

companies hold 40 percent of Iran’s total petrochemical production capacity and are responsible

for 50 percent of Iran’s total petrochemical exports. Regarding this action, Treasury Secretary

Steven T. Mnuchin stated, “By targeting this network we intend to deny funding to key elements

of Iran’s petrochemical sector that provide support to the IRGC . . . This action is a warning that

we will continue to target holding groups and companies in the petrochemical sector and elsewhere

that provide financial lifelines to the IRGC.”

       30.     OFAC has additionally stated that Iran’s petroleum and petrochemical industries

are major sources of revenue for the Iranian regime and fund its malign activities throughout the

Middle East and that Iran’s petrochemical and petroleum sectors are primary sources of funding




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for the Iranian regime’s global terrorist activities and enable its persistent use of violence against

its own people. See https://home.treasury.gov/news/press-releases/sm885.

       31.     OFAC has also noted that crude oil and condensate sold by the IRGC-QF originates

with NIOC, and that the IRGC-QF relies on persons embedded within the shipping industry to

keep this oil moving by ensuring that vessel insurance and registration are in order, among other

things. Furthermore, NITC vessels have been used in IRGC-QF-run operations. See

https://home.treasury.gov/news/press-releases/sm767.

       32.     OFAC has also noted that a complex network of intermediaries enables the IRGC-

QF to obfuscate its involvement in selling Iranian oil and that in spring 2019 alone, one IRGC-

QF-led network employed more than a dozen vessels to transport nearly 10 million barrels of crude

oil and had taken steps to hide Iranian, IRGC, and NIOC involvement in certain transactions. These

shipments, taken collectively, sold for more than half a billion dollars. The same network also sold

nearly 4 million barrels of condensate and hundreds of thousands of barrels in gas oil, bringing in

another quarter-billion dollars.

       33.     OFAC has additionally stated that the profits from these activities support the

IRGC’s full range of nefarious activities, including the proliferation of weapons of mass

destruction and their means of delivery, support for terrorism, and a variety of human rights abuses,

at home and abroad and that the IRGC systemically infiltrates critical sectors of the Iranian

economy to enrich their coffers, while engaging in a host of other malign activities. See

https://home.treasury.gov/news/press-releases/sm703.

       34.     On October 26, 2020, OFAC stated:

       NIOC, overseen by the Ministry of Petroleum, is responsible for the exploration,
       production, refining, and export of oil and petroleum products in Iran. NITC, a
       subsidiary of NIOC, is responsible for the transportation of Iranian crude exports.
       NIOC and NITC provide both the oil and tankers for the sale of Iranian oil by



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        the IRGC-QF. The cooperation and coordination between the IRGC-QF and these
        entities extends well beyond the simple sale of oil, including coordination between
        NIOC and the Central Bank of Iran to facilitate the collection of tens of millions of
        dollars in proceeds from the sale of oil that benefitted the IRGC-QF.

        NITC has also played a significant role in oil deals used to generate revenue for the
        IRGC-QF and Hizballah. NITC personnel coordinated with the IRGC-QF on the
        loading of oil provided by NIOC, and NITC Managing Director Nasrollah Sardashti
        (Sardashti) worked with Hizballah on logistics and pricing for oil shipments to
        Syria. Sardashti also worked with Qatirji Group representative Viyan Zanganeh
        (Zanganeh) and a senior IRGC-QF official to facilitate the shipment of millions of
        dollars of oil by NITC. In 2018, OFAC designated Syrian regime-affiliated Qatirji
        Group for facilitating fuel trades between the Syrian regime and the Islamic State
        of Iraq and al Sham (ISIS), including providing oil products to ISIS-controlled
        territory. As of early 2020, the Qatirji Group’s Zanganeh continued to work closely
        with the IRGC-QF to coordinate NIOC’s provision of millions of barrels of oil and
        petroleum products to be shipped to Syria, as well as millions of dollars in payments
        back to Iran. In mid-2020, Zanganeh continued to act as an intermediary between
        the IRGC-QF and a Syrian regime-affiliated business, arranging for the funding of
        the release of a seized vessel and additional shipments of fuel oil.

        The Iranian Ministry of Petroleum has been used by individuals at the highest levels
        of the Iranian regime to facilitate the IRGC-QF’s revenue generation scheme. In
        mid-2019, the Ministry of Petroleum arranged the loading of hundreds of thousands
        of barrels of oil for shipments to Syria, and in mid-2020 the IRGC-QF and senior
        regime officials coordinated to use the Ministry of Petroleum to procure U.S.
        dollars for the benefit of the IRGC-QF.

        Furthermore, in order to obfuscate its involvement in shipping activity, NITC set
        up a front company in the United Arab Emirates (UAE), Atlas Ship Management.
        NITC officials also arranged to create a separate UAE-based front company,
        Atlantic Ship Management Company, ostensibly as an entity to replace Atlas Ship
        Management.

IV.     SPECIFIC FACTUAL ALLEGATIONS

        35.     As described further herein, the Target Cargo originated from Iran and sanctioned

Iranian entities.

        A. Rima’s Connection to IRGC-QF

        36.         The petroleum tanker Rima is owned by Omani-company Taif Mining Services

LLC (“Taif Mining”), which is a shell company owned by IRGC-QF associate Amir Dianat




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(“Dianat”). Both Taif Mining and Dianat have been designated by OFAC pursuant to counter-

terrorism sanctions for their connection to IRGC-QF.

       37.     The Rima is an Iranian-flagged vessel that is currently listed as being owned by

Iranian company Moshtaq Tejarat Sanat Co (JSC) and managed by Iranian company Fanoos

Savahel Kish Co (JSC) according to a commercial database which contains business registration

information. According to a publicly filed civil asset forfeiture complaint, filed on May 1, 2020,

the Rima was purchased by IRGC-QF associate Amir Dianat (“Dianat”) in 2019. See 1:20-cv-

01139. On the same day the civil asset forfeiture complaint was filed, the Department of the

Treasury designated Dianat, stating:

       The U.S. Department of the Treasury’s Office of Foreign Assets Control (OFAC)
       today designated dual Iranian and Iraqi national Amir Dianat, a longtime associate
       of senior officials of Iran’s Islamic Revolutionary Guard Corps-Qods Force (IRGC-
       QF). Dianat, who is also known as Ameer Abdulazeez Jaafar Almthaje, is involved
       in IRGC-QF efforts to generate revenue and smuggle weapons abroad. OFAC is
       also designating Taif Mining Services LLC, a company owned, controlled, or
       directed by Dianat. Concurrent with OFAC’s action, the U.S. Attorney’s Office for
       the District of Columbia filed criminal charges against Dianat and one of his
       business associates for violations of sanctions and money laundering laws, and filed
       a related civil forfeiture action alleging that approximately $12 million is subject to
       forfeiture as funds involved in these crimes and as assets of a foreign terrorist
       organization.
       …
       Dianat, an associate of IRGC-QF officials Behnam Shahriyari and Rostam
       Ghasemi, has supported IRGC-QF smuggling operations for several years,
       including efforts aimed at the shipment of weapons including missiles. The IRGC-
       QF has relied on Dianat to secure entry for vessels carrying IRGC-QF shipments
       and has used his business connections to facilitate logistics requirements. Dianat
       has been directly involved in IRGC-QF efforts to smuggle shipments from Iran to
       Yemen.

       Dianat has been involved in developing additional illicit business opportunities to
       generate revenue for the IRGC-QF, and in 2019, leveraged Taif Mining Services
       LLC, a company under his control, to procure an oil tanker.

       Amir Dianat is being designated pursuant to E.O. 13224, as amended, for having
       materially assisted, sponsored, or provided financial, material, or technological
       support for, or goods or services to or in support of, the IRGC-QF.



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       Taif Mining Services LLC is being designated pursuant to E.O. 13224, as amended,
       for being owned, controlled, or directed by, directly or indirectly, Amir Dianat.

       See https://home.treasury.gov/news/press-releases/sm995

       38.     I am aware that after the civil asset forfeiture complaint was filed against the funds

Taif Mining used to purchase the Rima, the Rima was detained in the United Arab Emirates. I am

aware that this detention was in part based on allegations made by the Greece-based former owner

of the vessel (“Greek Company 1”), since the prior company never received payment.

       39.     Instead of resolving this ownership dispute in the United Arab Emirates, the Rima

turned off its automatic identification system (“AIS”) 2 on or about July 5, 2020, according to

publicly available information, and travelled to Iran. Maritime and commercial databases show

that the Rima now flies the Iran flag and is owned by a company in Iran; however, Greek Company

1 has not notified law enforcement of their conveyance of the vessel to any company in Iran, so

the only parties I am aware of that have a legal interest in the vessel are Greek Company 1 and

Taif Mining. I am unaware of Greek Company 1 ever reclaiming the Rima from Taif Mining. As

such, I believe the Rima is still being controlled by Taif Mining and Dianat.

       40.     I have additionally reviewed email search warrant returns of Taif Mining and

Dianat, which support that Dianat owns Taif Mining and the Rima loaded Iranian petroleum. For




2
  According to MarineTraffic, which provides a commercial AIS service, the International
Maritime Organization requires an AIS to be fitted on every ship, with exceptions for warships,
leisure craft and fishing boats. The system was introduced primarily for safety reasons by helping
government authorities to identify vessels, assist in search and rescue operations as well as provide
supplementary information from other navigational systems such as radar. AIS automatically
transmits the ship’s position and a timestamp. The ship’s operator may also manually update the
navigational status, ship’s draft, hazardous cargo information, destination and ETA, and
waypoints. See https://www.marinetraffic.com/blog/information-transmitted-via-ais-signal.


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example, a May 13, 2019 email included an “internal contract” for Taif Mining which listed Dianat

and an Iranian associate as the 67% shareholder of the company.

       41.     In a December 3, 2019 email, taifmsco@gmail.com, which is used by Taif Mining

forwarded a Statement of Facts from a Rima shipment, which showed that the Rima travelled to

Kharg Island, Iran on or about December 3, 2019. The document additionally listed “NOR

TENDERED TO NOIC [NIOC], KHARG ISLAND FOR LOADING.” I am aware from prior

cases that NIOC operates many of the terminals at Kharg Island, Iran, leading me to believe that

the Rima has shipped NIOC petroleum since being acquired by Taif Mining.

       B.      Rima Obtains Petroleum product at NIOC Port Kharg Island

       42.     On or about September 24, 2020, the Rima received her cargo from the M/T Stream

at a Kharg Island, Iran anchorage.

       43.     A confidential human source (“CHS”), who is an expert in the maritime industry

and has proven reliable in the past, 3 has reviewed satellite imagery showing the ship-to-ship




3
         CHS is motivated by a desire to assist the U.S. Government’s foreign policy objectives. In
total, the CHS has been paid $20,500 for services to law enforcement, and was reimbursed for
travel expenses.


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transfer between the Rima and the M/T Stream in the Kharg Island anchorage, which is shown

below: 4




       44.        The CHS has reviewed satellite imagery of the Rima, which confirms that the vessel

was empty before engaging in the ship to ship transfer at the Kharg Island anchorage, and fully

laden thereafter.

       45.        There is probable cause to believe that the Kharg Island anchorage is owned and/or

controlled by NIOC, and thus that the Rima obtained NIOC petroleum product, as described

further herein.

       46.        Based on the CHS’s understanding of the Iranian oil industry and statements of

NIOC on its publicly available website, the government of Iran controls the production of Iranian

oil, and specifically NIOC controls the production of crude oil in Iran.




4
       Your affiant notes that, according to the CHS, oil tankers have visual signatures and can
be identified by satellite imagery. Moreover, maritime vessels report their location via an
Automatic Identification System (“AIS”), which includes the ship’s name, IMO number, and draft
depth.


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       47.     According to the publicly available webpage for the Iranian Oil Terminals

Company (“IOTC”), IOTC is a subsidiary of NIOC that runs the Kharg Oil Terminals.

Specifically, the site states that IOTC “[i]s one of the companies under umbrella of National Iranian

Oil Company is an operational, specialized and professional organization that has the duty of all

reservation affairs, crude oil, oil products, liquefied gas and marine services export and import

operations along with providing measurement and lab services. This important task is under

implemented by aiming at support and sustained continuation of oil and gas production in the

country in four operational zones of Kharg Oil Terminals . . . .” See http://www.iotco.ir/en/about.

According to the corporation reporting service Orbis, IOTC is owned by the government of Iran.

       48.     According to NIOC’s website, Kharg Island is where NOIC discharges crude oil.

The domain nioc-intl.ir, which purports to be NOIC’s international affairs website, lists seven

“active berths” at Kharg Island. According to the CHS, based on a historical review of satellite

imagery, it is not uncommon for NITC vessels to engage in ship to ship transfers in the Kharg

anchorage.

       49.     According to the CHS, prior to Iran being sanctioned by the United States, Iran

openly explained in the industry how it distributed oil and it was well-known in the industry that

Kharg Island was a distribution point for NIOC.

       50.     Additionally, in a separate case, Individual 1 has met with U.S. law enforcement

regarding the Iranian oil trade. 5 Individual 1 is involved with the Iranian oil trade and provided




5
        Information provided by Individual 1 was found to be reliable and consistent with the
tradecraft of Iranian sanctions evaders. Individual 1 has been reimbursed for travel to meet with
law enforcement agents and also provided $2,500 for the purpose that the same would be used to
purchase computer and phone equipment on which to communicate with law enforcement.


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law enforcement with information about negotiations for Iranian petroleum, which were

corroborated by various emails and other source material.

       51.     Individual 1 reported that the government of Iran owns all Iranian oil, and not

private individuals or companies. Individual 1 also reported that NIOC is the primary government

corporation involved in the production and sale of Iranian oil. According to Individual 1, NOIC

owns and operates the Kharg Island oil terminals via its subsidiary, IOTC.

       52.      According to NIOC’s website, NIOC itself sells Iranian petroleum products

directly to buyers and cautions against dealing with individuals claiming to be NIOC brokers as

NIOC does not use brokers.

       53.     Therefore, there is probable cause to believe that vessels calling on Kharg Island

oil terminal, and berthing in its anchorage, are receiving petroleum products owned by NIOC, an

OFAC sanctioned entity. Thus, there is probable cause to believe that the Rima was loading NIOC-

owned petroleum product when it obtained oil on September 24, 2020.

       C.      The Rima’s Transfer to the PEGAS

       54.     According to satellite imagery reviewed by the CHS, the Rima thereafter idled

south of Kharg Island for nearly a year, acting as a floating storage facility of petroleum product.

The Rima maintained its position in Iran territorial waters, without moving any significant

distance. According to the CHS, it is not uncommon for NIOC to use tankers as floating storage

in times when petroleum product production levels are high. The following satellite image shows

the Rima idling in Iranian waters on or about October 6, 2020.




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       55.     The following satellite image shows the Rima idling in a nearly identical location

almost a year later, on or about August 10, 2021.




       56.     On or about August 17, 2021, the Rima engaged in a ship to ship transfer of crude

oil with the PEGAS in Iranian territorial water. The PEGAS is a Russian flagged petroleum tanker

owned by PSB Lizing OOO (“PSB Lizing”) according to a commercial database of business

registration information, and the Department of the Treasury designation of the same.


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        57.    The following satellite image shows the ship-to-ship transfer between the PEGAS

and the Rima, on or about August 17, 2021:




        58.    The CHS has reviewed satellite imagery of the Rima, which confirms that the vessel

was empty before engaging in the ship-to-ship transfer at the Kharg Island anchorage, and laden

thereafter.

        59.    Based on my training and experience, I believe that a standard due diligence check

on the Rima would have alerted individuals interacting with the Rima of its links to Dianat and the

IRGC-QF.

        60.    Law enforcement has reviewed the AIS of the PEGAS since taking on petroleum

from the Rima. AIS shows that the draft changed consistent with a ship-to-ship transfer on or about

August 19, 2021, as the PEGAS travelled through the Gulf of Oman.

        61.    Following the ship-to-ship transfer, the PEGAS changed her AIS data to state an

intended port of Kavkaz, Russia, a port on the Black Sea. AIS data shows that the PEGAS arrived

at the Bosporus Canal in September 2021, was not able to proceed through the canal into the Black

Sea and returned to the sea of Marmara, west of Istanbul. Although AIS data shows that the



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PEGAS berthed at the Marmara OPET oil terminal in January 2022, according to the CHS’s review

of satellite imagery, the PEGAS did not discharge her cargo and returned to the Sea of Marmara.

       62.     In April 2022, satellite imagery shows that the PEGAS was relocated to the Aegean

Sea with the assistance of four Turkish tugboats. The PEGAS switched off her AIS during this

time period, which I know to be contrary to standard industry practice as maritime insurers require

AIS to be switched on.

       63.     On or about April 13-14, 2022, satellite imagery shows that the PEGAS received

assistance from a Greek-flagged offshore supply ship, which brought the PEGAS into Greek

waters, where it is presently detained by Greek authorities.

       64.     I am aware from information provided in this and other cases that (i) Iranian oil is

frequently paid for on delivery, due to the issues created by U.S. sanctions in getting the oil to

market; and (ii) oil transactions typically occur in U.S. dollars. It is reasonable to conclude that

any delivery of the Rima’s petroleum product will inure to the benefit of PSB Lizing, a sanctioned

entity, and that such transactions may violate the aforementioned Russia Sanctions.

       65.     Further, the investigation reveals the sale and delivery of crude oil from the

National Iranian Oil Company (“NIOC”), and transported aboard tankers owned or operated by

the National Iranian Tanker Company (“NITC”), PSB, and others, all for the benefit of the IRGC-

QF. The Treasury Department has designated both NIOC and NITC pursuant to counter-terrorism

sanctions for financially supporting the IRGC-QF. There is probable cause to believe that PSB has

aided and abetted in the violation of 18 U.S.C. § 2339B.

       66.     In summary, I have reviewed evidence showing that the PEGAS loaded Iranian

petroleum from the Rima. The Rima is owned by an entity that has been designated pursuant to

counter-terrorism sanctions, and in turn loaded Iranian petroleum from a vessel at Kharg Island.




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       67.      I am unaware of any evidence showing that the PEGAS transferred this petroleum

to any other port or vessel, leading me to believe that the petroleum originally acquired from the

Rima is still on the PEGAS.

       68.      According to publicly available sources, which I have confirmed with U.S.

government officials in Greece, the PEGAS is currently in Greek territorial waters.

V.     ALL TARGET CARGO SUBJECT TO FORFEITURE

       69.      As described above, on or about August 17, 2021, and after the U.S. government

designated NIOC, IRGC, IRGC-QF, Dianat, and Taif Mining pursuant to counter-terrorism

authorities, the PEGAS took on cargo from the Rima. (As described previously, the Rima currently

has disputed ownership; however, the most recent party that received an unencumbered

conveyance of the vessel was Taif Mining, which was designated pursuant counter-terrorism

sanctions for its connection to IRGC-QF.) The Rima transferred this cargo to the PEGAS via ship-

to-ship transfer on about August 17, 2021.

       70.      The Iranian petroleum transferred from the Rima to the PEGAS constitutes the

Target Cargo.

       71.      As described above, the Target Cargo is property of NIOC and/or Dianat and Taif

Mining, which is being sold on behalf of the IRGC-QF, a designated foreign terrorist organization.

In transferring the Target Cargo for the purposes of sale, NIOC and/or Dianat and Taif Mining

provided or attempted to provide resources to IRGC-QF, in violation of 18 U.S.C. § 2339B(a)(1).

       72.      The Target Cargo is subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(G)(i),

as an asset of NIOC and/or Dianat and Taif Mining, entities that engaged in a federal crime of

terrorism – providing material support to IRGC-QF, a designated terrorist organization.




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       73.     Additionally, the Target Cargo provides NIOC and/or Dianat and Taif Mining with

a source of influence over the IRGC-QF, within the meaning of 18 U.S.C. § 981(a)(1)(G)(i),

because the Target Cargo was critical to furthering IRGC-QF’s enterprise and profits.

       74.     Additionally, the Target Cargo is subject to forfeiture pursuant to 18 U.S.C.

§ 981(a)(1)(G)(i), because it provides the third-party companies involved with this illicit shipment

a source of influence over NIOC and/or Dianat and Taif Mining, which are designated entities

which have engaged in a federal crime of terrorism – providing material support to IRGC-QF, also

a designated terrorist organization.

VI.    REQUEST TO SUBMIT WARRANT BY TELEPHONE OR OTHER RELIABLE
       ELECTRONIC MEANS

       75.     I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Seizure Warrant. I submit that Assistant U.S. Attorney

Karen Seifert, an attorney for the United States, is capable of identifying my voice and telephone

number for the Court.

VII.   CONCLUSION

       76.     Based on security concerns raised by the nature, ownership, and location of the

Target Cargo, there exists reasonable cause to permit the execution of the requested warrant at any

time of day or night.




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       77.     Based on the information contained herein and my training and experience, I submit

that the Target Cargo is subject to seizure and forfeiture, pursuant to the above referenced statutes,

and I request that the Court issue the proposed seizure warrants.


                                               Respectfully submitted,

                                                tJvJ        ;Z v3v/~J~
                                               Cindy Burnham, Special Agent
                                               Federal Bureau of Investigation


Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 4l(d)(3) on April 15, 2022.




HONORABLE G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE
DISTRICT OF COLUMBIA




                                                 25
